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 6                       IN THE UNITED STATES DISTRICT COURT
 7                               FOR THE DISTRICT OF ARIZONA
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 9   Ronald H. Pratte,                                No. CV-19-00239-PHX-GMS
10                 Plaintiff,                         ORDER
11   v.
12   Jeffrey Bardwell, et al.,
13                 Defendants.
14
15
16         Pending before the Court is the Parties’ Joint Motion to Modify Case Management

17   Order (Doc. 28) to amend the April 12, 2019 Case Management Order. Accordingly,
18         IT IS HEREBY ORDERED granting the Joint Motion to Modify Case

19   Management Order (Doc. 28) and extending the deadlines set forth in the April 12, 2019

20   Case Management Order (Doc. 14) to be modified as follows:
21         1.     The deadline for final supplementation of MIDP responses and the
22   completion of fact discovery, including discovery by subpoena shall be filed no later than

23   January 31, 2020.

24         2.     Plaintiff shall provide full and complete expert disclosures no later than

25   February 21, 2020.

26         3.     Defendants shall provide full and complete expert disclosures no later than
27   March 13, 2020.
28         4.      The parties shall provide rebuttal expert disclosures no later than April 10,
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 1   2020.
 2           5.    Expert depositions shall be completed no later than May 15, 2020.
 3           6.    Dispositive motions, if any, shall be filed no later than June 5, 2020.
 4           7.    The parties shall file their respective two-page letters regarding any
 5   anticipated dispositive motions no later than May 8, 2020 and shall contact the Court the
 6   same day to schedule a time for a pre-motion conference.
 7           Dated this 8th day of October, 2019.
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